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                  EXHIBIT A
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


SAMANTHA TAVEL A/K/A CANDY                  :
CARTWRIGHT,                                 :
                                            :
                      Plaintiff,            :       Case No. 1:20-cv-06805
                                            :
v.                                          :
                                            :
MATT RIDDLE, WORLD WRESTLING                :
ENTERTAINMENT, INC., EVOLVE                 :
WRESTLING, INC., AND GABE                   :
SAPOLSKY,                                   :
                                            :
                      Defendants.           :



                          DECLARATION OF MARK CARRANO


       I, Mark Carrano, do hereby declare and state as follows:

       1.     I am over the age of eighteen (18) years and believe in the obligations of an oath.

       2.     I have personal knowledge of the matters set forth herein or, where indicated,

have reviewed WWE corporate records, and am competent to testify thereto.

       3.     Since in or around February 2015, I have been employed as the Vice President,

Talent Relations of World Wrestling Entertainment, Inc. (“WWE”). In that capacity, I am

generally responsible for managing and overseeing WWE’s talent or wrestlers.

       4.     I have reviewed the Complaint filed in the above-captioned action and, therefore,

am familiar with the allegations asserted therein. I submit this Declaration in support of WWE’s

Motion to Dismiss.




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       5.      Matt Riddle is a talent currently under contract to WWE.

       6.      Mr. Riddle first entered into a contract with WWE as of August 8, 2018.

Relevant excerpts of Mr. Riddle’s first contract with WWE is attached as Exhibit 1. Prior to

August 8, 2018, WWE had no relationship with Mr. Riddle whatsoever.

       7.      After entering into his first contract with WWE as of August 8, 2018, Mr. Riddle

subsequently entered into other contracts with WWE.

       8.      Mr. Riddle’s August 8, 2018 contract with WWE (and all subsequent contracts)

provide that he is as an independent contractor, and that “[n]othing in this Agreement shall be

construed to constitute [Riddle] as an employee, partner or joint venture of [WWE], nor shall

[Riddle] have any authority to bind [WWE] in any respect.” See Ex. 1 at ¶ 13.1.

       9.      WWE had no involvement at all with the wrestling show promoted by Evolve

Wrestling, Inc. in Summit, Illinois on or about May 19, 2018.

       10.     In an attempt to falsely connect WWE to Evolve Wrestling, Inc., the Complaint

asserts the conclusory allegations that: “[o]n before, and after May 19, 2018, defendant WWE

was actively involved in the conduct of business of Evolve,” Compl. ¶ 5; “[o]n before, and after

May 19, 2018, defendant WWE and its representatives acted as agents of Evolve, Compl. ¶ 6;

“[o]n before, and after May 19, 2018, defendant WWE had control of the events conducted by

defendant, Evolve, Compl. ¶ 7; and “[o]n before, and after May 19, 2018, defendant WWE

provided rules for which defendant Evolve’s agents had to comply with,” Compl. ¶ 8. These

allegations are simply false.




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